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 PROB 12C                                                                             Report Date: August 28, 2017
(6/16)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Joshua M. Terpstra                        Case Number: 0980 2:15CR00144-SMJ-6
 Address of Offender:                                            Washington 99006
 Name of Sentencing Judicial Officer: The Honorable Salvador Mendoza, U.S. District Judge
 Date of Original Sentence: August 9, 2016
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. §§ 1349 and 1344
 Original Sentence:       Prison - 1 day                     Type of Supervision: Supervised Release
                          TSR - 24 months
 Asst. U.S. Attorney:     Allyson Edwards                    Date Supervision Commenced: August 9, 2016
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: August 8, 2018


                                          PETITIONING THE COURT

                To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Special Condition # 20: The defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to urinalysis and sweat patch testing, as directed by the
                        supervising officer, but no more than 6 tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: On August 12, 2016, Mr. Terpstra’s conditions of supervised
                        released were reviewed. On July 17, 2017, the undersigned officer reviewed the conditions
                        of supervision again for Mr. Terpstra. He verified he still understood all of his conditions.

                        On July 17, 2017, Mr. Terpstra was directed to report to the United States Probation Office
                        to supply a random urine sample. He reported as directed and supplied a urine sample that
                        tested presumptive positive for methamphetamine. Mr. Terpstra initially denied any use,
                        but after further conversation he self-disclosed he relapsed on July 14, and 17, 2017.

                        Mr. Terpstra signed a drug use admission form stating he used methamphetamine on July
                        14, and July 17, 2017.
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          2          Special Condition # 20: The defendant shall abstain from the use of illegal controlled
                     substances, and shall submit to urinalysis and sweat patch testing, as directed by the
                     supervising officer, but no more than 6 tests per month, in order to confirm continued
                     abstinence from these substances.

                     Supporting Evidence: On August 12, 2016, Mr. Terpstra’s conditions of supervised
                     released were reviewed. On July 17, 2017, the undersigned officer reviewed the conditions
                     of supervision again for Mr. Terpstra. He verified he still understood all of his conditions.

                     Due to Mr. Terpstra’s self-disclosed methamphetamine use on July 17, 2017, he was directed
                     to begin calling the urinalysis hotline at Alcohol Drug Education Prevention Treatment, Inc.
                     (ADEPT). He was instructed to listen for the color “Brown 2" and report to ADEPT
                     between 7 a.m. and 7 p.m. if that color was called, to submit a urine sample.

                     On July 31, 2017, the color “Brown 2" was called, and Mr. Terpstra failed to supply a urine
                     sample. He was directed to report to the United States Probation Office to supply a urine
                     sample on August 8, 2017.

                     Mr. Terpstra reported as directed and supplied a urine sample. He self-disclosed to this
                     officer he used methamphetamine again on August 8, 2017. Mr. Terpstra was directed to
                     report to ADEPT in order to schedule an assessment.


          3          Special Condition # 20: The defendant shall abstain from the use of illegal controlled
                     substances, and shall submit to urinalysis and sweat patch testing, as directed by the
                     supervising officer, but no more than 6 tests per month, in order to confirm continued
                     abstinence from these substances.

                     Supporting Evidence: On August 12, 2016, Mr. Terpstra’s conditions of supervised
                     released were reviewed. On July 17, 2017, the undersigned officer reviewed the conditions
                     of supervision again for Mr. Terpstra. He verified he still understood all of his conditions.

                     Mr. Terpstra was directed to report to the United States Probation Office on August 23,
                     2017. The undersigned officer requested he supply a random urine sample at the office on
                     this date. Mr. Terpstra supplied a sample that tested presumptive positive for
                     methamphetamine. The results were sent to Alere Toxicology Labs.

                     Mr. Terpstra self-disclosed using methamphetamine on August 21, 2017. He signed a drug
                     use admission form.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the offender to appear
to answer to the allegations contained in this petition.
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